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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.



      JOINT STIPULATION AND ORDER REGARDING PLAINTIFFS’ MOTION TO
       COMPEL PRODUCTION OF DOCUMENTS AND DATA CITED IN EXPERT
               REPORTS OF EDWARD A. FOX AND MARK A. ISRAEL

        The parties have conferred regarding Plaintiffs’ Motion to Compel Production of

Documents and Data Cited in Expert Reports of Edward A. Fox and Mark A. Israel (ECF

No. 376) and, subject to the approval of the Court, hereby stipulate and agree to resolution of

Plaintiffs’ Motion to Compel relating to the expert report of Edward A. Fox as follows:

        1.     Edward A. Fox shall withdraw any mention of the European data reduction

experiments from his expert report(s);

        2.     At trial, provided Plaintiffs’ experts do not mention or discuss the European data

reduction experiments on direct examination or the Plaintiffs do not raise these experiments on

cross examination, Edward A. Fox will not mention or discuss the European experiments and he

will not rely upon those experiments in any way to support his conclusions;

        3.     United States Plaintiffs may question Prabhakar Raghavan regarding the

European data reduction experiments; such questioning will not alter the duration of Mr.

Raghavan’s deposition; and this deposition will take place on October 28, 2022 at 9:30 am PT;
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         4.     United States Plaintiffs will not seek any additional questioning of other fact

witnesses on the topic of European data reduction experiments; however, United States Plaintiffs

may ask about the European data reduction experiments in the deposition of Edward A. Fox.

         Nothing in this Order limits any party’s scope of cross examination on any witness at

trial.

SO ORDERED:                                   Amit                Digitally signed by
                                                                  Amit Mehta

                                              Mehta               Date: 2022.08.24
                                                                  19:51:10 -04'00'
Dated: August ___, 2022
                                               Hon. Amit P. Mehta
                                               United States District Court




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